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7                           UNITED STATES DISTRICT COURT
8                    FOR THE EASTERN DISTRICT OF CALIFORNIA
9

10
     BERNARD F. CLARK,
11                                              1:09-CV-01998-OWW-GSA
                          Plaintiff,
12                                              MEMORANDUM DECISION AND ORDER RE
                     v.                         COUNTRYWIDE HOME LOANS, INC.,
13                                              RECONTRUST COMPANY, BANK OF
     COUNTRYWIDE HOME LOANS, INC.,              AMERICA, N.A., MORTGAGE
14
     et al.,                                    ELECTRONIC REGISTRATION SYSTEMS,
15                                              INC., (erroneously sued as MERS,
                           Defendants.          INC., Chase Home Finance
16

17
                                       I. INTRODUCTION
18
           On or about August 2, 2007, Plaintiff Bernard F. Clark
19
     obtained a mortgage loan in the amount of $360,000 secured by a
20
21   deed of trust encumbering real property in Groveland, California.

22   Plaintiff defaulted on the loan, and Defendants proceeded to

23   foreclose on the real property.         Defendant‟s Request for Judicial
24   Notice (“RJN”), Exs. B-D.
25
           On August 24, 2009, Plaintiff filed a complaint in the
26
     Superior Court of the State of California, County of Tuolumne,
27
     alleging ten causes of action.         Doc. 1.    On November 12, 2009,
28
                                            1
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1    Defendants removed the action to federal court pursuant to 28
2    U.S.C. §§ 1331, 1441, based on federal question jurisdiction.
3
     Id.   Plaintiff‟s amended complaint, filed March 17, 2010, alleges
4
     17 causes of action: (1) Fraud; (2) Breach of Loan Commitment;
5
     (3) Negligence; (4) Breach of Good Faith; (5) Breach of Fiduciary
6
     Duty; (6) Economic Duress; (7) Civil RICO; (8) Cal. Civ. Code §
7

8    2923.5; (9) Cal. Civ. Code § 2923.6; (10) California‟s Rosenthal

9    Fair Debt Collection Practices Act (“RFDCPA”), Cal. Civ. Code. §§

10   1788.17; (11) Cal. Civ. Code § 1572; (12) Real Estate Settlement
11   Procedures Act (“RESPA”), (12) U.S.C. § 2607(b); (13) Quiet
12
     Title; (14) Unfair business practices, Cal. Bus. Prof. Code §§
13
     17200, et seq.; (15) Produce the Original Note; (16) Cal. Civ.
14
     Code § 1572; (17) Injunctive Relief.         Doc. 16.
15
           On April 5, 2010, Defendants Countrywide Home Loans, Inc.
16

17   (“Countrywide”), ReconTrust Company (“ReconTrust”), Bank of

18   America, N.A. (“BANA”), and Mortgage Electronic Registration
19   Systems, Inc.‟s (“MERS”), (collectively “Countrywide Defendants”)
20
     moved to dismiss all of the claims in the case pursuant to
21
     Federal Rule of Civil Procedure 12(b)(6).          Doc. 24.    Plaintiff
22
     opposed the motion to dismiss.        Doc. 31, filed June 1, 2010.
23
     Countrywide Defendants replied.        Doc. 33, filed June 7, 2010.
24

25   Defendant Chase Home Finance, LLC.1 (“Chase”) filed a separate

26   motion to dismiss on June 22, 2010.         Doc.   36.   Plaintiff filed

27
           1
              Although Chase was named as a Defendant to this action, no claim
28   specifically refers to Chase.
                                           2
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1    an opposition to Countrywide Defendants‟ reply2 and an opposition
2    to Chase‟s motion to dismiss.3        Doc. 38, filed July 21, 2010.
3
     Chase replied.4     Doc. 39.
4
                                  II.   LEGAL STANDARD
5
           A motion to dismiss brought under Federal Rule of Civil
6
     Procedure 12(b)(6) “tests the legal sufficiency of a claim.”
7

8    Navarro v. Block, 250 F.3d 729, 732 (9th Cir. 2001).            In deciding

9    whether to grant a motion to dismiss, the court “accept [s] all

10   factual allegations of the complaint as true and draw[s] all
11   reasonable inferences” in the light most favorable to the
12
     nonmoving party.     TwoRivers v. Lewis, 174 F.3d 987, 991 (9th Cir.
13
     1999).    To survive a motion to dismiss, a complaint must “contain
14
     sufficient factual matter, accepted as true, to „state a claim to
15

16
     relief that is plausible on its face.‟”          Ashcroft v. Iqbal, 129

17   S. Ct. 1937, 1949 (May 18, 2009) (quoting Bell Atl. Corp v.

18   Twombly, 550 U.S. 544, 570 (2007)).
19

20
           2
              The local rules do not permit Plaintiff to file an opposition to
21   Countrywide Defendants’ reply. See Local Rule 230 (Fed. R. Civ. P 78).
           3
             Plaintiff‟s opposition to Chase‟s motion to dismiss largely restates
22   previous arguments and nowhere refers specifically to Chase or Chase‟s motion
     to dismiss. It also contains various incorrect statements, including that
23   “the motion to dismiss intentionally skips any answer to the concerted fraud
     committed to the plaintiff....” Doc. 38 2:12-13. This is inaccurate, as
24   Chase addressed the fraud claim in detail in its motion to dismiss. Doc. 36
     at 3-5.
           4
              Chase claims that it did not receive an opposition or statement of
25   non-opposition to the motion to dismiss and that neither are present on the
     docket. Chase is mistaken, as Doc. 38, which is titled an “opposition” to
26   Countrywide Defendants‟ reply, contains Plaintiff‟s opposition to Chase‟s
     motion to dismiss. However, Document 38 was filed on July 21, 2010, two days
27   after the July 19, 2010 deadline for the filing of his opposition to Chase‟s
     motion. Plaintiff dated the document July 19, 2010, but gives no explanation
28   as to why it was not filed with the Clerk of court on that date.
                                           3
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1                 A claim has facial plausibility when the plaintiff
                  pleads factual content that allows the court to
2                 draw the reasonable inference that the defendant
                  is liable for the misconduct alleged. The
3
                  plausibility standard is not akin to a
4                 “probability requirement,” but it asks for more
                  than a sheer possibility that defendant has acted
5                 unlawfully. Where a complaint pleads facts that
                  are “merely consistent with” a defendant‟s
6                 liability, it “stops short of the line between
                  possibility and plausibility of „entitlement to
7                 relief.‟”
8
     Id.     (citing Twombly, 550 U.S. 556-57).     Dismissal also can be
9
     based on the lack of a cognizable legal theory.          Balistreri v.
10
     Pacifica Police Dep‟t, 901 F.2d 696, 699 (9th Cir. 1990).
11

12
                                   III.   BACKGROUND
13
             On or about July 26, 2007, Plaintiff financed the purchase
14
     of a residential property located at 12689 Mt. Jefferson Street,
15
     Groveland, California (“Subject Property”) through a promissory
16
     note with First Magnus Financial Corp. (“First Magnus”) in the
17

18   amount of $360,000 (“Subject Loan”) secured by a deed of trust.

19   Doc. 16 at ¶ 9.     Plaintiff later defaulted on the Subject Loan.

20   On January 27, 2009, a Notice of Default and Election to Sell
21   Under Deed of Trust, Instrument No. 2007013088, was recorded in
22
     the Office of the County Recorder of Tuolumne County.           Doc. 16 at
23
     ¶ 21.    The default was not cured, and on May 1, 2009, a notice of
24
     trustee‟s sale, Instrument No. 2009005160, was also recorded.
25

26
     Id.

27           Plaintiff alleges that (1) no Defendant has the original

28   note to prove that it is a party authorized to conduct the
                                     4
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1    foreclosure (Doc. 16 at ¶ 24); (2) Defendants breached an oral
2    promise to modify the existing loan terms (Doc. 16 at ¶ 31); and
3
     (3) Plaintiff was not contacted to explore his financial
4
     situation prior to notice of default (Doc. 16 at ¶ 156-160).
5
     These allegations form the basis of most of Plaintiff‟s causes of
6
     action.
7

8                                    IV.    ANALYSIS

9    A. Constructive or Actual Fraud

10         Plaintiff‟s first cause of action alleges fraud by each

11   Defendant.    This claim is based largely on the allegation that

12   “each Defendant has represented to Plaintiff and to third parties
13   that they were the owner of the Trust Deed and Note as either the
14
     Trustee or the beneficiary regarding ... Possession of the Note
15
     is not incidental to the right to foreclose, it is absolutely
16
     necessary.”    Doc. 16 at ¶ 34.       This is a wholly discredited legal
17
     theory serially advanced in mortgage fraud cases.
18

19         It is well established that there is no requirement under

20   California law that the party initiating foreclosure be in
21   possession of the original note.         Nool v. HomeQ Servicing, 653 F.
22
     Supp. 2d 1047, 1053 (E.D. Cal. 2009); Candelo v. NDEX West, LLC,
23
     2008 WL 5382259, at *4 (E.D. Cal. Dec. 23, 2008) (“No requirement
24
     exists under statutory framework to produce the original note to
25
     initiate non-judicial foreclosure.”); Putkkuri v. ReconTrust Co.,
26
27   2009 WL 32567, *2 (S.D. Cal. Jan 5, 2009)(“Production of the

28   original note is not required to proceed with a non-judicial
                                     5
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1    foreclosure.”).     Therefore, Plaintiff‟s assertion that
2    Countrywide Defendants and Chase did not possess the note is not
3
     grounds for a wrongful foreclosure or a fraud claim.
4
           Plaintiff also alleges that the “broker” committed fraud by
5
     placing him in a sub-prime mortgage “on the promise that things
6
     would get better and the borrower could refinance when the value
7

8    of their home increases.”      Doc. 1 ¶ 39.    All claims for fraud

9    must comply with Federal Rule of Civil Procedure 9(b), which

10   requires that Plaintiff clearly set forth the “who, what, when,
11   where, and how” concerning their fraud allegations.          Vess v. Ciba
12
     Geigy Corp. USA, 317 F.3d 1097, 1106 (9th Cir. 2003).           Plaintiff
13
     entirely fails to describe which of the many defendants was the
14
     “broker,” what the broker told him, and when and how any such
15
     statements were made.
16

17         Plaintiff has been previously afforded leave to amend the

18   fraud claim.    The fraud cause of action against the Countrywide
19   Defendants and Chase is DISMISSED WITH PREJUDICE.
20
21   B. Breach of Loan Commitment

22         Plaintiff‟s second cause of action alleges a breach of loan

23   commitment against MERS and First Magnus.         This allegation is

24   based on supposed oral promises made by First Magnus to modify
25   the loan and a breach of those promises.         Doc. 16 at ¶ 127.
26
     Plaintiff further alleges that MERS is liable as a nominee of the
27
     lender who breached a contract.       Doc. 16 at ¶ 128.     As “breach of
28
                                          6
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1    loan commitment” is not a cognizable legal claim, Plaintiff‟s
2    claim is analyzed as a breach of contract claim.          The elements
3
     for a breach of contract are: (1) the existence of a valid
4
     contract, (2) plaintiff‟s performance or excuse for
5
     nonperformance, (3) defendants‟ breach, and (4) resulting damage.
6
     McKell v. Washington Mutual, Inc. 142 Cal. App. 4th 1457, 1489
7

8    (2006).

9          Certain types of contracts are invalid unless memorialized

10   by a written document signed by the party against whom the
11   contract is being enforced.       Cal. Civ. Code § 1624.     Mortgages
12
     and deeds of trust are subject to the statute of frauds.             Secrest
13
     v. Sec. Nat‟l Mortg. Loan Trust 2002-2, 167 Cal. App. 4th 544,
14
     552 (2008).    “An agreement to modify a contract that is subject
15
     to the statute of frauds is also subject to the statute of
16

17   frauds” and must be in writing.       Id. at 553; see also Basham v.

18   Pac. Funding Group, 2010 WL 2902368 (E.D. Cal. July 22,
19   2010)(dismissing a claim that defendant breached an oral contract
20
     to provide plaintiffs with a loan modification because, under the
21
     statute of frauds, “absent a writing, there can be no contract,
22
     much less a breach of contract.”); Justo v. Indymac Bancorp, et
23
     al., 2010 WL 623715 (E.D. Cal. Feb. 19, 2010)(plaintiff‟s claim
24

25   that defendants breached an oral contract to modify his loan and

26   cancel the foreclosure sale was barred by the statute of frauds).

27   A written contract may not be modified by an oral agreement,
28
                                          7
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1    unless that oral agreement is memorialized in writing and signed
2    by the parties.     Cal. Civ. Code § 1698.
3
           Here, the alleged promise for a loan modification is subject
4
     to the statute of frauds.      Absent a written agreement to modify
5
     the loan, any claim based upon an oral contract to modify the
6
     loan is barred by the statute of frauds.         See Secrest, 167 Cal.
7

8    App. 4th at 552.

9          At oral argument, Plaintiff claimed that Countrywide

10   promised him that if he brought the loan current, they would
11   modify his loan.     Plaintiff further claims that, in reliance on
12
     this promise, he obtained money (approximately $8,000) to bring
13
     the loan current, but Countrywide refused the loan modification.
14
     Although Plaintiff cannot state a breach of contract claim based
15
     upon this conduct, he may be able to state a claim for fraud.          In
16

17   California, the elements for a claim of fraud are: (1)

18   misrepresentation; (2) knowledge of falsity; (3) intent to
19   defraud; (4) justifiable reliance; and (5) resulting damage.
20
     Small v. Fritz Companies, Inc., 30 Cal. 4th 167, 173 (2003).
21
     Upon removal to federal court, all claims for fraud must be pled
22
     with sufficient particularity to satisfy Federal Rule of Civil
23
     Procedure Rule 9(b).      “[W]hile a federal court will examine state
24

25   law to determine whether the elements of fraud have been pled

26   sufficiently to state a cause of action, the Rule 9(b)

27   requirement ... is a federally imposed rule.”           Vess, 317 F.3d at
28
                                          8
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1    1103).
2            The Countrywide Defendants‟ motion to dismiss the second
3
     cause of action is GRANTED WITH LEAVE TO AMEND.          Plaintiff shall
4
     have one final opportunity to amend his complaint to state a
5
     fraud claim based upon the conduct discussed at oral argument.
6

7    C. Negligence
8            Plaintiff alleges negligence against First Magnus and BANA.
9
     The claim against BANA is based solely upon BANA‟s violation of
10
     RESPA.    Doc. 16 at ¶¶ 129-132.     Plaintiff further alleges that he
11
     sent a Qualified Written Request (“QWR”) to BANA and the reply
12

13   was untimely.

14           To establish a negligence claim, “it must be shown that (1)

15   the defendant owed the plaintiff a legal duty, (2) the defendant
16   breached that duty, and (3) the breach was a proximate or legal
17
     cause of the plaintiff's injuries.        The absence of any one of
18
     these three elements is fatal to a negligence claim.”           Gilmer v.
19
     Ellington, 159 Cal. App. 4th 190, 195 (2008) (internal citation
20
     omitted).     “Financial institutions owe no duty of care to a
21

22   borrower when the institution‟s involvement in the loan

23   transaction does not exceed the scope of its conventional role as

24   a mere lender of money.”      Nymark v. Heart Fed. Sav. & Loan Ass‟n,
25   231 Cal. App. 3d 1089, 1096 (1991).        As BANA owes no duty to the
26
     Plaintiff, Plaintiff cannot assert a claim of negligence against
27
     BANA.
28
                                          9
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1           To the extent Plaintiff‟s negligence claim can be
2     interpreted as a stand-alone claim under RESPA against BANA,
3
      Plaintiff has not alleged how BANA failed to respond to the QWR.
4
      RESPA requires:
5
            if any servicer of a federally related mortgage loan
6           receives a qualified written request from the borrower (or
            agent of the borrower) for information relating to the
7           servicing of such loan, the servicer shall provide a written
8           response acknowledging receipt of the correspondent within
            20 days ... unless the action requested is taken within such
9           period.

10    12 U.S.C. § 2605(e)(1)(A).      Here, Plaintiff admits that BANA did
11    respond to the QWR, but contends that the response was untimely.
12
      However, Plaintiff fails to provide any other details regarding
13
      the QWR and the “untimely” response.        Plaintiff did not request
14
      leave to amend the negligence claim.        Countrywide Defendants‟
15
      motion to dismiss is GRANTED WITHOUT LEAVE TO AMEND.
16

17
     D. Breach of Fiduciary Duty
18
            As a general rule, a financial institution owes no duty of
19
      care to a borrower where the institution‟s involvement in the
20
      loan transaction does not exceed the scope of its conventional
21

22    role as a lender of money.      Nymark v. Hart Fed. Savings & Loan

23    Assn., 231 Cal. App. 3d 1089, 1096 (1991).        There is no fiduciary

24    relationship between Plaintiffs and any defendant.          Accordingly,
25    the Countrywide Defendants‟ motion to dismiss the fiduciary duty
26
      claim is GRANTED WITHOUT LEAVE TO AMEND.
27

28
                                          10
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1    E. Breach of Implied Covenant of Good Faith and Fair Dealing

2           The implied covenant of good faith and fair dealing exists
3     in every contract.     The implied covenant “is aimed at making
4
      effective the agreement‟s promises.”        Kransco v. Am. Empire
5
      Surplus Lines Ins. Co., 23 Cal. 4th 390 (2000).         “Broadly stated,
6
      that covenant requires that neither party do anything which will
7
      deprive the other of the benefits of the agreement.”          Freeman &
8

9     Mills, Inc. v. Belcher Oil Co., 11 Cal. 4th 85 (1995).

10          A tortuous breach of the covenant of good faith and fair

11    dealing claim is limited to situations in which a fiduciary or
12    special relationship exists.      Mitsui Manuf. Bank v. Superior
13
      Court, 212 Cal. App. 3d 726, 730 (1989).        As no fiduciary
14
      relationship exists here, the Countrywide Defendants‟ motion to
15
      dismiss this cause of action is GRANTED WITHOUT LEAVE TO AMEND to
16
      the extent it alleges tortuous breach of contract.          If it is
17

18    meant to allege a breach of contract claim, a sufficient

19    independent breach of contract claim must be stated.
20
     F. Economic Duress
21
            Plaintiff‟s sixth claim against all Defendants is for
22

23    “economic duress.”     Plaintiff asserts this claim on the grounds

24    that Countrywide made an oral promise to the Plaintiff to modify

25    the loan.   Doc. 16 at ¶¶ 143-148.
26          A party‟s consent to a contract must be freely given.            Cal.
27
      Civ. Code § 1565.     Apparent consent is not free when obtained
28
                                          11
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1     through duress, menace, fraud, undue influence, or mistake. §
2     1567.    “Duress generally exists whenever one is induced by the
3
      unlawful act of another to make a contract or perform some act
4
      under circumstances that deprive him of the exercise of free
5
      will.     Tarpy v. County of San Diego, 110 Cal. App. 4th 267, 276
6
      (2003).    Economic duress does not necessarily involve an unlawful
7

8     act, but may arise from “the doing of a wrongful act which is

9     sufficiently coercive to cause a reasonably prudent person faced

10    with no reasonable alternative to succumb to the perpetrator's
11    pressure.”     Rich & Whillock, Inc. v. Ashton Development, Inc.,
12
      157 Cal. App. 3d 1154, 1158 (1984).       Examples of such “wrongful
13
      acts” include “[t]he assertion of a claim known to be false or a
14
      bad faith threat to breach a contract or to withhold a
15

16
      payment....”     Id. at 1159.

17            Here, Plaintiff‟s claim of economic duress is that

18    defendants proceeded with the foreclosure sale in violation of an
19    oral promise that they would not do so if Plaintiff “brought the
20
      loan current.”    Doc. 1 ¶¶ 146-147.     This is an allegation of
21
      breach of oral contract, not of economic duress.         He also
22
      complains that the parties never assigned the deed to one
23
      another, an invocation of the “failure to hold the original
24

25    promissory note” theory, which is meritless.         Plaintiff has

26    failed to plead a claim for economic duress.

27            Plaintiff did not request leave to amend the claim for
28
                                          12
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1     economic duress.     Countrywide Defendants‟ motion to dismiss the
2     Economic Duress claim is GRANTED WITHOUT LEAVE TO AMEND.
3

4    G. Civil RICO

5           The seventh cause of action is a Civil RICO claim against

6     all Defendants.    18 U.S.C. § 1962 provides in pertinent part:

7           (c) It shall be unlawful for any person employed by or
            associated with any enterprise engaged in or the
8           activities of which effect, interstate or foreign
            commerce, to conduct or participate, directly or
9           indirectly, in the conduct of such enterprise‟s affairs
            through a pattern of racketeering activity or
10          collection of unlawful debt.
11          “A civil RICO complaint must at least allege: „(1) conduct
12    (2) of an enterprise (3) through a pattern (4) of racketeering
13
      activity (known as “predicate acts”) (5) causing injury to
14
      plaintiff's “business or property.” ‟ ” Flores v. Emerich & Fike,
15
      416 F. Supp. 2d 885, 911 (E.D. Cal. 2006).        A civil RICO claim
16
      must also comply with Rule 9(b)‟s particularity requirement.           Id.
17

18    at 912.

19          Plaintiff essentially alleges that every defendant was aware

20    that the notice of default was invalid and that every defendant
21    either participated in or rendered substantial assistance in the
22
      issuance of the invalid notice.       These allegations are not
23
      remotely sufficient to support of a Civil RICO violation.
24
      Plaintiff did not request leave to amend the Civil RICO claim.
25

26    Countrywide Defendants‟ and Chase‟s motions to dismiss the Civil

27    RICO claim are GRANTED WITHOUT LEAVE TO AMEND.

28
                                          13
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1    H. Cal. Civ. Code §§ 2923.5 & 2923.6.

2           Plaintiff alleges that Countrywide and ReconTrust failed to
3     comply with California Civil Code §§ 2923.5 (requiring lenders to
4
      contact borrower prior to filing notice of default), Doc. 16 at ¶
5
      156-160, and that all Defendants failed to comply with 2923.6
6
      (requiring certain waiting periods prior to giving notice of
7
      sale).   There is no private right of action under either
8

9     provision.     Gaitan, 2009 WL 3244729, *7, succinctly summarized

10    the state of the law and the relevant analysis:

11                 Under California law, a statute will only be deemed to
                   contain a private right of action if the Legislature
12                 has manifested an intent to create such a right.
                   Moradi-Shalal v. Fireman's Fund Ins. Companies, 46
13                 Cal.3d 287, 305 (1988).
14                 The Perata Mortgage Relief Act was enacted relatively
                   recently, and thus California courts have had little
15                 chance to examine its provisions. Nevertheless,
                   section 2923.6, passed along with section 2923.5,
16                 clearly does not create a private right of action.
                   That section solely “creat[es] a duty between a loan
17                 servicer and a loan pool member. The statute in no way
                   confers standing on a borrower to contest a breach of
18                 that duty.” Farner v. Countrywide Home Loans, No.
                   08cv2193 BTM (AJB), 2009 WL 189025, at *2 (S.D.Cal.
19                 Jan. 26, 2009). Other courts to consider this question
                   have agreed unanimously with the Farner court. See
20                 Tapia v. Aurora Loan Servs., LLC, No. 1:09-cv-01143 AWI
                   (GSA), 2009 WL 2705853, at *1 (E.D.Cal. Aug. 25, 2009);
21                 Anaya v. Advisors Lending Group, No. CV F 09-1191 LJO
                   DLB, 2009 WL 2424037, at *8 (E.D.Cal. Aug. 5, 2009);
22                 Pantoja v. Countrywide Home Loans, Inc., 640 F. Supp.
                   2d 1147, 1188, No. C 09-01615 JW, 2009 WL 2423703, at
23                 *7 (N.D.Cal. July 9, 2009); Connors v. Home Loan Corp.,
                   No. 08cv1134-L (LSP), 2009 WL 1615989, at *7 (S.D. Cal.
24                 June 9, 2009).
25                 Whether or not section 2923.5 creates a private right
                   of action, however, has not been the subject of
26                 unanimity among the courts. Only two courts have
                   considered this question, and they have reached
27                 inconsistent results. See Yulaeva v. Greenpoint
                   Mortgage Funding, Inc., No. CIV. S-09-1504 LKK/KJM,
28                 2009 WL 2880393, at *11 (E.D. Cal. Sept. 03, 2009)
                                         14
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1                (assuming without deciding that section 2923.5 does not
                 provide a private right of action); Ortiz v. Accredited
2                Home Lenders, Inc., 69 F. Supp. 2d 1159, 1166, No. 09
                 CV 0461 JM (CAB), 2009 WL 2058784, at *5 (S.D. Cal.
3                Jul. 13, 2009) (finding section 2923.5 does contain a
                 private right of action, as “the California legislature
4                would not have enacted this „urgency‟ legislation,
                 intended to curb high foreclosure rates in the state,
5                without any accompanying enforcement mechanism.”).

6                Under California law, “courts are not at liberty to
                 impute a particular intention to the Legislature when
7                nothing in the language of the statute implies such an
                 intention.” Dunn-Edwards Corp. v. Bay Area Air Quality
8                Management Dist., 9 Cal. App. 4th 644, 658 (1992).
                 Thus, “if the Legislature intends to create a private
9                cause of action, we generally assume it will do so
                 directly, in clear, understandable, unmistakable
10               terms.” Vicko Ins. Servs., Inc. v. Ohio Indemnity Co.,
                 70 Cal. App. 4th 55, 62-63 (1999), quoting Moradi-
11               Shalal, 46 Cal. 3d at 294-295 (internal marks omitted).
12               Section 2923.5 contains no language that indicates any
                 intent whatsoever to create a private right of action.
13
      Neither section 2923.5 or 2923.6 creates a private right of
14
      action.   Plaintiff offers no contrary authority or argument.
15

16          Plaintiff did not request leave to amend the Section 2923.5

17    claim.    The Countrywide Defendants‟ motion to dismiss the claim

18    brought under California Civil Code Section 2923.5 is GRANTED
19    WITHOUT LEAVE TO AMEND. Plaintiff has been previously afforded
20
      leave to amend the Section 2923.6 claim.        Countrywide Defendants‟
21
      and Chase‟s motion to dismiss the Section 2923.6 claim is GRANTED
22
      WITHOUT LEAVE TO AMEND.
23

24   I. Rosenthal Fair Debt Collection Practices Act
25          The complaint next alleges a violation of the Rosenthal Fair
26
      Debt Collection Practices Act (“RFDCPA”), Section 1788.17 against
27
      all Defendants.    The RFCDPA was enacted to “prohibit debt
28
                                          15
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1     collectors from engaging in unfair and deceptive acts or
2     practices in the collection of consumer debts, and to require
3
      debtors to act fairly in entering into and honoring such debts.”
4
      Cal. Civ. Code § 1788.1.      Plaintiff‟s allegations simply list
5
      statutory language then conclude that Defendants violated each
6
      section.
7

8           “The law is clear that foreclosing on a deed of trust does

9     not invoke the statutory protections of the RFDCPA.”          Collins v.

10    Power Default Servs., Inc., No. 09-4838 SC, 2010 WL 234902, at *3
11    (N.D. Cal. Jan. 14, 2010)(collecting numerous cases).
12
      “Foreclosure pursuant to a deed of trust does not constitute debt
13
      collection under the RFDCPA.”      Casteneda v. Saxon Mortgage
14
      Serve., Inc., 687 F. Supp. 2d 1191, 1197 (E.D. Cal 2009); see
15

16
      also Gonzalez v. First Franklin Loan Servs., No. 1:09-CV-00941

17    AWI-GSA, 2010 WL 144862, at *7 (E.D. Cal. Jan. 11, 2010)

18    (“Foreclosure related actions…do not implicate the RFDCPA.”)         The
19    conduct Plaintiff complains of concerns foreclosure related
20
      actions in connection with his residential mortgage.          This
21
      conduct is not covered by the RFDCPA.        For this reason,
22
      Plaintiff‟s RFDCPA claim is subject to dismissal.
23
            Plaintiff has been previously afforded leave to amend the
24

25    RFDCPA claim.    Countrywide Defendants‟ and Chase‟s motions to

26    dismiss the RFDCPA claim are GRANTED WITHOUT LEAVE TO AMEND.

27

28
                                          16
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1    J. Cal. Civ. Code § 1572

2           Plaintiff‟s eleventh cause of action is against First Magnus
3     and MERS for violation of California Civil Code § 1572 (Actual
4
      Fraud).   The complaint alleges:
5
                 The misrepresentations by Defendants and/or
6                Defendants‟ predecessors, failures to disclose,
                 and failure to investigate as described above were
7                made with the intent to induce Plaintiff to
                 obligate themselves on the Loan in reliance on the
8                integrity of Defendants and/or Defendants‟
9                predecessors.

10    (Compl. at ¶ 180).

11          In California, “[t]he elements of fraud, which give[] rise
12    to the tort action for deceit, are (a) misrepresentation (false
13
      representation, concealment, or nondisclosure); (b) knowledge of
14
      falsity (or scienter); (c) intent to defraud, i.e., to induce
15
      reliance; (d) justifiable reliance; and (e) resulting damage.”
16
      Small v. Fritz Companies, Inc., 30 Cal. 4th 167, 173 (2003)
17

18    (internal quotation marks omitted).       Plaintiff's fraud claim is

19    subject to Rule 9(b)'s elevated pleading standard.          Vess v. Ciba-

20    Geigy Corp. USA, 317 F.3d 1097, 1106 (9th Cir. 2003).
21          The allegations in the complaint fail to specify the “who,
22
      what, when, where, and how of the misconduct charged.”          Kearns v.
23
      Ford Motor Co., 567 F.3d 1120, 1124 (9th Cir. 1120) (internal
24
      quotation marks omitted).      The complaint provides no particular
25
      details on what specific role First Magnus or MERS played in the
26
27    “scheme” to “fraudulently induce Plaintiff” to enter into his

28    loan transaction, or when and where the scheme occurred.             See
                                      17
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1     Swartz, 476 F.3d at 764-65 (concluding that, in a fraud suit
2     involving multiple defendants, a plaintiff must “identif[y] the
3
      role” each defendant played “in the alleged fraudulent scheme,”
4
      informing “each defendant separately of the allegations
5
      surrounding his alleged participation in the fraud”) (alteration
6
      in original) (internal quotation marks omitted); Vess v. Ciba-
7

8     Geigy Corp. USA, 317 F.3d 1097, 1106 (9th Cir. 2003) (concluding

9     that a fraudulent conspiracy claim failed to satisfy Rule 9(b)

10    because, among other things, the pleading failed to “provide the
11    particulars of when, where, or how the alleged conspiracy
12
      occurred”).    In addition, the complaint fails to specify what
13
      particular misrepresentation was involved in the fraudulent
14
      scheme.   First Magnus, MERS, or any defendant, is not required to
15
      guess what particular misrepresentation(s) are at issue in the
16

17    fraud claim.

18          Plaintiff‟s sixteenth cause of action restates the
19    allegations from the eleventh cause of action against all
20
      Defendants and fails for the same reasons.
21
            Plaintiff has been previously afforded leave to amend the
22
      Section 1572 claim.     He has not done so.     Countrywide Defendants‟
23
      motion to dismiss the eleventh cause of action is GRANTED WITHOUT
24

25    LEAVE TO AMEND.    Countrywide Defendants‟ and Chase‟s motions to

26    dismiss the sixteenth cause of action are GRANTED WITHOUT LEAVE

27    TO AMEND.
28
                                          18
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1

2
     K. Real Estate Settlement Procedures Act
3
            Plaintiff reasserts a RESPA claim against each Defendant,
4

5     alleging: (1) “That the failure to respond to Plaintiff‟s RESPA

6     constitutes a violation of 12 U.S.C. § 2607(b); and (2) Plaintiff

7     has suffered damages actually and proximately caused by
8     Defendants‟ violation of the within statute.”         (Doc. 16 at ¶¶
9
      196, 198).    Plaintiff‟s claim against each Defendant is
10
      unfounded, as he only addressed a RESPA letter to BANA.
11
            Just as Plaintiff‟s prior alleged RESPA claim failed to
12
      state a claim, this RESPA claim fails.        The new claim does not
13

14    allege who or how each Defendant violated RESPA.         Instead the

15    allegation simply affords the conclusion of law that the

16    Defendants violated RESPA resulting in damages to the Plaintiff.
17    Plaintiff did not request leave to amend the RESPA claim.
18
      Countrywide Defendants‟ and Chase‟s motions to dismiss this RESPA
19
      cause of action are GRANTED WITHOUT LEAVE TO AMEND.
20
21   L. Quiet Title
22          “[A] mortgagor of real property cannot, without paying his
23
      debt, quiet his title against the mortgagee.”         Miller v. Provost,
24
      26 Cal. App. 4th 1703, 1707 (1994) (citations omitted).          Here,
25
      Plaintiff defaulted on the Subject Loan, and does not allege that
26
      he has since paid the outstanding balance.
27

28          Plaintiff has been previously afforded leave to amend the
                                       19
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1     claim for Quiet Title.     Countrywide Defendants’ and Chase’s
2     motions to dismiss the fourth cause of action are GRANTED WITHOUT
3
      LEAVE TO AMEND.
4
      N.    Cal. Bus. & Prof. Code §17200
5
            Plaintiff asserts a claim under California's Unfair
6

7     Competition Law (“UCL”).       Cal. Bus. & Prof. Code § 17200.

8     Section 17200 prohibits “any unlawful, unfair or fraudulent

9     business act or practice and unfair, deceptive, untrue or
10    misleading advertising.”      “[A] plaintiff must have suffered an
11
      „injury in fact‟ and „lost money or property as a result of the
12
      unfair competition‟ to have standing to pursue either an
13
      individual or a representative claim under the California Unfair
14
      Competition Law.”     Hall v. Time, Inc., 158 Cal. App. 4th 847, 849
15

16    (2008); see also Cal. Bus. & Prof. Code § 17204.

17           Defendants argue that Plaintiff did not state a claim under
18
      the UCL because: (1) “Plaintiff has not alleged sufficient facts
19
      under Fed. R. Civ. P. 8”; (2) Plaintiff did not allege statutory
20
      violations or allege that any conduct was unlawful, unfair, or
21
      fraudulent; (3) Plaintiff did not plead claims of fraud and
22

23    misrepresentation with specificity; (4) Plaintiff did not state

24    what money and property was lost.

25          The UCL prohibits unfair competition including “any
26    unlawful, unfair or fraudulent business act or practice.”            Cal.
27
      Bus. & Prof. Code § 17200.      Because the statute is written in the
28
                                          20
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1     disjunctive, it applies separately to business acts or practices
2     that are (1) unlawful, (2) unfair, or (3) fraudulent.          See
3
      Pastoria v. Nationwide Ins., 112 Cal. App. 4th 1490, 1496 (2003).
4
      “Each prong of the UCL is a separate and distinct theory of
5
      liability; thus, the „unfair‟ practices prong offers an
6
      independent basis for relief.”       Kearns, 567 F.3d at 1127.
7

8           As to the unlawful prong, the UCL incorporates other laws

9     and treats violations of those laws as unlawful business

10    practices independently actionable under state law.          Chabner v.
11    United Omaha Life Ins. Co., 225 F.3d 1042, 1048 (9th Cir. 2000).
12
      As to the “unfair” prong, “[a]n unfair business practice is one
13
      that either „offends an established public policy‟ or is
14
      „immoral, unethical, oppressive, unscrupulous or substantially
15

16
      injurious to consumers.‟ ”      McDonald v. Coldwell Banker, 543 F.3d

17    498, 506 (9th Cir. 2008) (quoting People v. Casa Blanca

18    Convalescent Homes, Inc., 159 Cal. App. 3d 509, 530 (1984)).             As
19    to the fraudulent prong, “fraudulent acts are ones where members
20
      of the public are likely to be deceived.”        Sybersound Records,
21
      Inc. v. UAV Corp., 517 F.3d 1137, 1151-52 (9th Cir. 2008).             For
22
      UCL claims, “[a] plaintiff must state with reasonable
23
      particularity the facts supporting the statutory elements of the
24

25    violation.”    Khoury v. Maly's of Cal., Inc., 14 Cal. App. 4th

26    612, 619 (1993).

27          Plaintiff‟s UCL claim has several deficiencies.         First,
28
                                          21
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1     Plaintiff's UCL allegations do not specify the basis for his
2     claim, i.e., whether it is based on an unlawful, unfair, or
3
      fraudulent practice, let alone state, with reasonable
4
      particularity, the facts supporting the statutory elements of the
5
      violation.    Second, to the extent Plaintiff asserts an UCL claim
6
      based on a violation of other law, his complaint fails to state a
7

8     claim for a violation of law.      Accordingly, to the extent the UCL

9     claim is predicated on the violation of other law, it is

10    insufficiently pled.     Third, to the extent Plaintiff asserts a
11    UCL claim that is based on or grounded in fraud, it must meet the
12
      requirements of Rule 9(b), Kearns, 567 F.3d at 1124-27, Vess, 317
13
      F.3d at 1103-04, which it does not.       The complaint fails to
14
      specify what particular role Defendants played in the fraudulent
15
      scheme, when and where the scheme occurred, or details on the
16

17    specific misrepresentation(s) involved in the fraudulent scheme.

18           Plaintiff has been previously afforded leave to amend the
19    Section 17200 claim.     Defendants‟ motion to dismiss the Section
20
      17200 cause of action is GRANTED WITHOUT LEAVE TO AMEND.
21
      O.    Production of Original Note
22
            The complaint‟s 15th cause of action against ReconTrust and
23
      MERS alleges that no Defendant owns the note and therefore has no
24

25    right to foreclose. Doc. 16 ¶ 214.       As discussed above, this is

26    not the law in California.      Plaintiff‟s demand to produce the

27    note fails as matter of law for the reasons stated above.
28
                                          22
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1           Plaintiff did not request leave to amend this claim.
2     Defendants‟ motion to dismiss the 15th cause of action is GRANTED
3
      WITHOUT LEAVE TO AMEND.
4
      Q.    Injunctive Relief
5
            Countrywide Defendants and Chase move to dismiss the last
6
      cause of action for injunctive relief on the grounds that: (1)
7

8     injunctive relief is not a cause of action; and (2) it must be

9     tethered to some independent legal duty owed by the defendant to

10    the plaintiff.
11          Plaintiff alleges “Defendants threaten to, and unless
12
      restrained, will foreclose upon Plaintiff‟s home by conducting a
13
      trustee‟s sale or causing a trustee‟s sale to be conducted, or
14
      otherwise.”    Doc. 16 at ¶ 229.     Plaintiff further alleges that
15
      “[i]njunctive relief is necessary to enjoin Defendants from
16

17    foreclosing upon Plaintiff‟s home.”       Doc. 16 at ¶ 231.

18          “Injunctive relief is a remedy and not, in itself, a cause
19    of action, and a cause of action must exist before injunctive
20
      relief may be granted.”      Camp v. Board of Supervisors, 123 Cal.
21
      App. 3d 334, 356 (1981) (quoting Shell Oil Co. v. Richter, 52
22
      Cal. App. 2d 164, 168 (1942)).       Here, as all of the substantive
23
      allegations have been dismissed, Plaintiff cannot obtain
24

25    injunctive relief.

26          Plaintiff has been previously afforded leave to amend the

27    claim for injunctive relief.       Countrywide Defendants’ and Chase’s
28
                                          23
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1     motions to dismiss the final cause of action are GRANTED WITHOUT
2     PREJUDICE, but only if Plaintiff states a sufficient fraud claim.
3
                                    V. CONCLUSION
4
            For the reasons set forth above, Defendants‟ motions to
5
      dismiss are GRANTED in their entirety.
6
            Plaintiff requests leave to amend to state a fraud claim
7

8     against the Countrywide Defendants in connection with the alleged

9     oral promise to modify the loan agreement.        Any amended complaint

10    shall be filed within thirty (30) days of electronic service.        No
11    claims may be reasserted against Chase.
12

13
      SO ORDERED
14    Dated: August 9, 2010
                                           /s/ Oliver W. Wanger
15                                           Oliver W. Wanger
                                        United States District Judge
16

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